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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO


UNITED STATES OF AMERICA                 )      CASE NO. 5:07 CR 69
                                         )
                     PLAINTIFF           )       JUDGE PETER C. ECONOMUS
                                         )
      v.                                 )
                                         )
JAMES STOVER                             )      ORDER
                                         )
                     DEFENDANT           )


      This matter is before the Court upon defense counsel’s Motion to Withdraw, see (Dkt.

# 21), and Defendant’s pro se motion for appointment of counsel, see, (Dkt. # 16). The

Defendant asserts that he would like the Court to appoint a different attorney than current

counsel Charles W. Olminsky, Jr.

       The district court must make a factual inquiry into the reasons behind a defense

counsel’s motion to remove counsel. See United States v. Iles, 906 F.2d 1122, 1130 n.8 (6th

Cir. 1990). When counsel makes a good faith motion requesting that a discharge and new

counsel appointed, the district court has a responsibility to determine the reasons for the

request. Id. at 1130. Upon a showing of “good cause,” the district court should grant the

motion. See United States v. Jennings, 945 F.2d 129, 132 (6th Cir. 1991).

      Upon consideration of the facts presented to the Court and placed into the record, the

Court hereby determines that there exists good cause to grant Mr. Olminsky’s request to

withdraw and Mr. Stover’s request for new counsel.
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      Accordingly, the Court hereby orders that the Defendant’s request to withdraw as

counsel is GRANTED. (Dkt. # 21). The Court further orders that Joseph Gardner is

appointed as counsel for the Defendant.



      IT IS SO ORDERED.
                                            /s/ Peter C. Economus - April 16, 2007
                                          PETER C. ECONOMUS
                                          UNITED STATES DISTRICT JUDGE
